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                                                                     FILED: August 25, 2011


                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                       ___________________

                                            No. 11-1179
                                       (8:09-cv-02184-RWT)
                                       ___________________

        KWAME ASAFO-ADJEI

                      Plaintiff - Appellant

        v.

        FIRST SAVINGS MORTGAGE CORPORATION; ANDREW MACTIGUE;
        GEORGE BONNEY, Dr.; HAL J. EPSTEIN; WILSHIRE CREDIT
        CORPORATION; GREEN TREE SERVICING, LLC

                      Defendants - Appellees

         and

        HOMECOMINGS FINANCIAL; GMAC MORTGAGE LLC

                      Defendants

                                       ___________________

                                         JUDGMENT
                                       ___________________

               In accordance with the decision of this court, the judgment of the district

        court is affirmed.
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              This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                              /s/ PATRICIA S. CONNOR, CLERK
